Case 23-13359-VFP   Doc 1310-3 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                            Exhibit C Page 1 of 4




        EXHIBIT C
Case 23-13359-VFP   Doc 1310-3 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                            Exhibit C Page 2 of 4
Case 23-13359-VFP   Doc 1310-3 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                            Exhibit C Page 3 of 4
Case 23-13359-VFP   Doc 1310-3 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                            Exhibit C Page 4 of 4
